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8
                             UNITED STATES DISTRICT COURT
9
                                   DISTRICT OF NEVADA
10
11   Cynthia Chalaye,                                    Case No.: 2:25-cv-00319

12                          Plaintiff,                   Notice of voluntary dismissal of Missouri
                     v.                                  Higher Education Loan Authority with
13
                                                         prejudice
14   Trans Union LLC; National Consumer
     Telecom & Utilities Exchange, Inc.; Clarity
15   Services, Inc. and Missouri Higher Education
     Loan Authority,
16
                            Defendants.
17
18            Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Cynthia Chalaye
     voluntarily dismisses with prejudice the claims against Missouri Higher Education Loan Authority
19   in this case. Each party will bear its own costs, disbursements, and attorney fees.
20
21           Dated: March 31, 2025.

22
                                                         FREEDOM LAW FIRM
23
24                                                       /s/ George Haines            .
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     NOTICE                                        -1-
